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                                                                                                                 DYAght D. Sullivan
                                                                                                                     County Clerk
                                                                                                          Galveston County, Texas

                                                     CAUSE NO.CV-0073982

                  Jamie Montiel                                 §           IN THE COUNTY CIVIL COURT
                                                                §
                          Plaintiff                             §
                                                                §
                  v.                                            §           AT LAW NUMBER
                                                                §
                  AMK Express, Inc. and Alim Kuchiev            § Galveston County- County Court at Law No. 1
                                                                §
                          Defendants                            §           GALVESTON COUNTY, TEXAS

                                                       ORIGINAL PETITION

                          Plaintiff Jamie Montiel complains of AMK Express, Inc._ and Alim Kuchiev and

                  would respectfully show the Court the following:

                                                                   I.

                                                           Nature of Action

                          l.        Plaintiff suffered injury as a result of being struck by Defendant's vehicle.

                  Plaintiff seeks damages in excess of $200,000.00 but less than $1,000,000.00.

                                                                  II.

                                                           Discovery Level

                          2.        Discovery in this matter may be conducted under Level 3 of the Texas Rules

                   of Civil Procedure.

                                                                  Ill.

                                                       Jurisdiction and Venue

                          3.    · The claims asserted arise under the common law of Texas.

                          4.        Venue is proper because the incident occurred in this County.




                                                                                                                   ~         EXHIBiT


STATE OF TEXAS                                   CERTIFIED COPY CERTIFICATE                                        ~_a_
COUNTY OF GALVESTON                                                                                                ~
This above is a full, true, and correct photographic copy of the original record now in my lawful custody and possession, as the
same is recorded in the Official Public Records of County Court at Law No. I in my office.

I hereby certify on July 6, 2015.                                                 DWIGHT D. SULLIVAN, County Clerk
                                                                                  Galveston County, Texas


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                                                                        IV.



                          5.        Plaintiff is a resident of Texas.

                          6.        Defendant AMK Express, Inc. may be served through its registered agent

                   Alim Anvarovich Kuchiev at 2215 Bradford Drive, Wheaton, Illinois 60189.

                          7.        Alim Kuchiev is an Illinois resident that may be served personally at 952

                   Community Drive, Wheaton, Illinois 60187.

                                                                        v.


                          8.        On or about October 16, 20 I4, Plaintiff suffered severe and debilitating

                   injuries as a result of Defendant's negligence. Alim Kuchiev was driving for AMK Express

                   on the date in question and was cited for the incident.           Specifically, Defendant struck

                   Plaintiff after running a red light at a high rate of speed. As a result of the collision, Plaintiff

                   suffered severe injuries to his neck, back, and other parts of her body.

                                                                        VI.

                                                             Causes of Action

                   A.      Negligence.

                           9.       Plaintiff repeats and realleges each allegation contained above.

                           10.      Plaintiff sustained injuries because of Defendant's negligence when

                   Defendant:

                                        Failed to control his vehicle's speed;

                                    •   Failed to operate his vehicle safely;




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STATE OF TEXAS                                    CERTIFIED COPY CERTIFICATE
COUNTY OF GALVESTON

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I hereby certify on July 6, 2015.                                                   DWIGHT D. SULLIVAN, County Clerk
                                                                                    Galveston County, Texas
       Case 3:15-cv-00169 Document 1-3 Filed on 07/06/15 in TXSD Page 3 of 4




                                       Failed to keep a proper lookout;

                                       Disregarded a traffic signal;

                                       Failed to maintain a safe distance; and

                                       Other acts so deemed negligent.

                           11.      Defendant should also be held liable as a matter of law for his violations of the

                   Texas Transportation Code.

                           12.      As a result of Defendant's negligence, Plaintiff suffered severe physical injury.

                   Plaintiff is entitled to recover for their injuries.

                                                                    VII.

                                                                   Prayer

                           Plaintiff prays for relief and judgment in a monetary amount over $200,000 but less

                    than $1,000,000, as follows:

                                           Past and future medical damages;

                                           Past and future loss of earnings;

                                           Past and future physical pain and suffering and mental anguish;

                                           Past and future impairment;

                                           Past and future disfigurement;

                                           Interest on damages (pre- and post-judgment) in accordance with law;

                                           Costs of court;

                                           Costs of copies of depositions; and

                                            Such other and further relief as the Court may deem just and proper.




                                                                          3




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                                                                                   Galveston County, Texas




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                                                              VIII.

                                                     Jury Trial Demanded

                        Plaintiff hereby demands a trial by jury.



                                                                        Respectfully submitted,

                                                                        PIERCE SKRABANEK
                                                                        BRUERA, PLLC

                                                                        Isl M. Paul Skrabanek

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                                                                                paul@psbfirm.com

                                                                        ATTORNEYS FOR PLAINTIFF




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                                                                                    Galveston County, Texas
